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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                APRIL 27, 2021
 PAGAN, individually and on behalf of all others
 similarly-situated,

                                  Plaintiff,
                                                               20-cv-07349 (ALC)
                      -against-
                                                               ORDER
 C.I. LOBSTER CORP. ET AL.,

                                  Defendants.

ANDREW L. CARTER, JR., United States District Judge:

       The parties should submit a joint status report by May 11, 2021, which at a minimum

should include an update to the Court regarding settlement negotiations.

SO ORDERED.

Dated: April 27, 2021                           ___________________________________
       New York, New York                                   ANDREW L. CARTER, JR.
                                                            United States District Judge
